                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION - FLINT

IN RE:

         BILLIE JEAN JAMISON,                             Case No. 07-33494
                                                          Chapter 7
           Debtor.                                        Hon. Daniel S. Opperman
_____________________________________/

ESTATE OF WAYNE WILSON,

         Plaintiff,

v.                                                        Adv. Pro. No. 08-3001

BILLIE JEAN JAMISON,

     Defendant.
_____________________________________/

                                   OPINION DENYING
                      PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

                                        I. Introduction

         Billie Jean Jamison is the Debtor in this Chapter 7 case and the Defendant in this

adversary proceeding. The Plaintiff is the estate of the Debtor’s former spouse, Wayne

Wilson. After the Debtor filed her bankruptcy case, the Plaintiff commenced this

adversary proceeding seeking a determination of the non-dischargeability of the debt

owed to it by the Debtor and also the denial of the Debtor’s discharge. This is the

second time the Plaintiff has moved for partial summary judgment with respect to the

non-dischargeability of its debt under several subsections of 11 U.S.C. § 523(a). The

motion before the Court does not involve any of the allegations pled in the Plaintiff’s

Complaint based on 11 U.S.C. § 727. For the reasons set forth in this opinion, the

Court denies Plaintiff’s motion.




     08-03001-dof     Doc 35   Filed 03/19/10   Entered 03/19/10 14:59:24   Page 1 of 17
                                         II. Facts

       These are the undisputed facts. Debtor is the former spouse of Mr. Wayne

Wilson. Mr. Wilson worked for General Motors (“GM”). He was a participant in the GM

Life and Disability program for hourly employees. On August 26, 1971, prior to the their

divorce, Mr. Wilson completed a “Designation of beneficiary form” naming the Debtor as

the primary beneficiary of the benefits under the GM Life and Disability program. The

Debtor and Mr. Wilson were divorced on December 23, 1985. Their Judgment of

Divorce contained the following provision relevant to the issues before the Court:

                                         Insurance

       IT IS FURTHER ORDERED AND ADJUDGED that the [Debtor] shall
       hereafter have no further interest as beneficiary or otherwise in and to any
       life insurance policies, endowment or annuity contracts standing in the
       name of the insuring the life of the [Mr. Wilson]; and [that Mr. Wilson] shall
       hereafter have no further interest as beneficiary or otherwise in and to any
       life insurance policies, endowment or annuity contracts standing in the
       name of insuring the life of the [Debtor].


(Plf.’s Mot., Ex. A (Dkt. #29).)

       Ten years later, Mr. Wilson married Alicia Wilson. Despite his divorce from the

Debtor and his later marriage, Mr. Wilson failed to update the “Designation of

beneficiary form” to remove Debtor as the primary beneficiary of the GM life insurance

and disability benefits. On November 9, 2006, Mr. Wilson passed away. Mrs. Wilson

submitted a claim for the GM life insurance benefits to the Metropolitan Life Insurance

Company (“Met Life”), the plan administrator and fiduciary of the GM Life and Disability

program.

       On January 12, 2007, Met Life denied Mrs. Wilson’s claim because she was “not


                                              2


  08-03001-dof     Doc 35    Filed 03/19/10   Entered 03/19/10 14:59:24      Page 2 of 17
the primary designated beneficiary.” (Plf.’s Mot., Ex. B (Dkt. #29).) In its letter to Mrs.

Wilson, Met Life explained that “the General Motors Life and Disability program for

Hourly employees” was “an employee welfare benefit plan . . . governed by federal law,

specifically the Employee Retirement Income Security Act of 1974, as amended

(‘ERISA’).” (Id.) Met Life further explained that “the plan documents control the

distribution of benefits under an ERISA-regulated plan” and that the benefits were

“payable to the latest beneficiary designation on file, (i.e., the August 26, 1971

“Designation of beneficiary form”) pursuant to a controlling decision issued by the Sixth

Circuit Court of Appeals. (Id.)

       After being named as the personal representative of the estate of Wayne Wilson,

Mrs. Wilson moved to enforce the “Insurance” clause of the Divorce Judgment against

the Debtor in the Circuit Court for Genesee County. On March 19, 2007, Honorable

Robert E. Weiss entered an order (“Circuit Court Order”) allowing the Plaintiff to

intervene in the 1985 divorce action and ordered the Debtor to:

       immediately upon receipt, pay the entire life insurance benefit of Wayne
       Wilson, Deceased, to the Estate of Wayne Wilson, B-07-180423DE and
       there is to be no distribution of the proceeds until further order of the
       Probate Court.
(Plf.’s Mot., Ex. D (Dkt. #29).)
       On April 9, 2007, Met Life transferred $17,138.23 (the “Life Insurance Proceeds”)

to an account held in the Debtor’s name. (Plf.’s Mot., Ex. F (Dkt. 29).) Beginning on

April 17, 2007 to April 30, 2007, Debtor wrote seven checks against this account totaling

$16,909.51 for household goods and furnishings, groceries, and cash. (Id.) On May 4,

2007 this account was automatically closed out with an ending balance of $246.28,

which included interest earned of $17.56. (Id.)

                                              3


 08-03001-dof      Doc 35    Filed 03/19/10   Entered 03/19/10 14:59:24      Page 3 of 17
       Due to the Debtor’s failure to comply with the Circuit Court Order, Plaintiff then

sought relief from the Genesee County Probate Court. On June 21, 2007 Honorable

Jennie E. Barkey entered an “Order Compelling Billie Jean Jamison (f/k/a Billie Jean

Wilson) to pay proceeds from the Decedent’s General Motors/Metropolitan Life

Insurance Policy to the Estate of Wayne Wilson, Sr., Deceased,” (“Order to Compel”)

which stated in part:

       IT IS HEREBY ORDERED that Billie Jean Jamison (f/k/a Billie Jean
       Wilson) is to pay the entire General Motors provided Life Insurance benefit
       paid to her by the Metropolitan Life Insurance Company to the Estate of
       Wayne Wilson Sr., Deceased, by delivering a certified or cashier’s check
       to the UAW-GM Legal Services Plan, attention Curt Ollikainen, located at
       432 N. Saginaw Street, Suite 504, Flint, Michigan 48502 on or before Five
       (5:00) p.m. on Friday, June 29, 2007.

       IT IS FURTHER ORDERED that if Billie Jean Jamison . . . fails to pay the
       Decedent’s life insurance benefit to the Estate of Wayne Wilson, Sr.,
       Deceased on or before Five (5:00) p.m. on Friday, June 29, 2007, an
       Order to Show Cause will be issued as to why Billie Jean Jamison . . .
       should not be held in contempt of Court.

(Plf.’s Mot., Ex. I (Dkt. #29).) Debtor did not comply with the Order to Compel. Some

time after June 29, 2007, Plaintiff sought and obtained additional relief from the

Genesee County Probate Court.1

       On October 11, 2007, Debtor filed a chapter 7 bankruptcy petition. (Case No. 07-

33494). On November 8, 2007, the Debtor’s first meeting of creditors took place.

During this meeting, the Debtor admitted that she received the Life Insurance Proceeds




      1 In support of her prior summary judgment motion, the Plaintiff relied on an “Order
of Judgment and Repayment Order” entered by Honorable Jennie E. Barkey on October
25, 2007, which was subsequent to the filing date of the Debtor’s petition. This “Order of
Judgment” is not part of the current record and was not considered by the Court in its
analysis of the Plaintiff’s current summary judgment motion.

                                             4


 08-03001-dof     Doc 35    Filed 03/19/10    Entered 03/19/10 14:59:24     Page 4 of 17
from the GM Life and Disability program in April 2007. (Plf.’s Mot., Ex. G, 341 Hearing

Tr. (“341 Hr’g Tr.”) at 5.) The Debtor also admitted that she wrote checks against the

Life Insurance Proceeds to purchase various household goods and furnishings,

groceries, and for cash. (Ex. G, 341 Hr’g Tr. at 5-6.) When questioned by the Trustee,

the Debtor was unable to provide any details about the specific amount of the life

insurance proceeds involved and did not have copies of the documents she received

from Met Life. (Ex. G, 341 Hr’g Tr. at 5-10.) At the Trustee’s direction, the meeting was

continued to Thursday, December 13, 2007 at 3:00 p.m.

       During the continued meeting of creditors, the Debtor admitted that she received

a little over $17,000 from Met Life. (Plf.’s Mot., Ex. E, Con’t. 341 Hearing Tr. (“Con’t. 341

Hr’g Tr.”) at 5.) She also testified about how she spent the proceeds on household

furniture and furnishings, utilities and other bills. (Ex. E, Con’t. 341 Hr’g Tr. at 5-8.)

When questioned by the Trustee, the Debtor acknowledged that she knew about the

court order that required her to turn over the Life Insurance Proceeds to someone else.

(Ex. E, Con’t. 341 Hr’g Tr. at 16-17.) Despite this knowledge, the Debtor testified that

she took the Life Insurance Proceeds because “the Lord told [her] to.” (Ex. E, Con’t. 341

Hr’g Tr. at 17.) Debtor explained to the Trustee that she

       was told by someone else to do so, based upon the fact that Wayne
       Wilson left the money to me. He wanted me to have it. And I stated that
       in a letter, while he was alive. We had six children together. Everybody
       else and drugs got the money that should have come to me and to our
       children. This is what I really feel[.]

(Id.) When the Trustee asked the Debtor whether she “willfully violated that court’s

order”, Debtor responded “Yes, based upon what my husband wanted.” (Id.)

       At another point during the Debtor’s examination, the Debtor explained her

                                               5


  08-03001-dof     Doc 35     Filed 03/19/10    Entered 03/19/10 14:59:24       Page 5 of 17
position by referring to the Anna Nicole Smith case. (Ex. E, Con’t. 341 Hr’g Tr. at 17-

18.) As a result, the following exchange occurred between the Trustee and the Debtor:

       Debtor:       Okay. What he wanted was honored. The state did not violate what
                     he wanted. And so that’s what – my question is this. This man
                     knew exactly what he was doing. He was a dying man. He left the
                     money to me. To me. No court in the law should ever go above
                     the free will of an individual.

       Trustee:      Okay. That’s certainly your opinion. I understand it. I just wanted
                     to make sure I understood the facts and the fact that you willfully
                     violated the court’s order.

       Debtor:       Yeah. But the Constitution gives all of us certain rights.

       Trustee:      Not to violate court orders it doesn’t.

       Debtor:       Well, when it supersedes the – the desire of an individual, that
                     person’s –

       Trustee:      I get orders all the time from the judge that I don’t like, but I don’t
                     violate them.

       Debtor:       Yeah, but that person –

       Trustee:      Should I? Do I have a right to because of Anna Nicole Smith?

       Debtor:       What my ex-husband wanted should supersede the law of the land.

(Ex. E, Con’t. 341 Hr’g Tr. at 18.)

       In addition, the Debtor testified that she wrote Met Life to tell “them what was

going on.” She admitted that she told Met Life

       that if they did not give the money to me that Wayne Wilson, Sr., wanted
       me to have, I was going to go public and I am prepared to do that, with the
       fact that this man knew what he was doing when he did that. And now the
       court systems wants to violate his wishes, a dying man, which is wrong.

(Ex. E, Con’t. 341 Hr’g Tr. at 22-23.)

       On January 4, 2008, Plaintiff commenced this adversary proceeding against the


                                              6


 08-03001-dof     Doc 35     Filed 03/19/10    Entered 03/19/10 14:59:24       Page 6 of 17
Debtor. The Complaint contains three counts. Count I is entitled “Conversion -

Exempting from Discharge Under” 11 U.S.C. §§ 523(a)(2) and (a)(4). Count II is

entitled “Fraud - Exemption from Discharge Under” 11 U.S.C. §§ 523(a)(2) and (a)(4).

Count III, unlike Counts I and II, addresses the denial of the Debtor’s discharge under

11 U.S.C. §§ 727(a)(2)(A), (a)(3), and (a)(4).

       On June 19, 2008, Plaintiff timely filed its motion and brief in support of partial

summary judgment as to only Count II of its Complaint. The Debtor opposed the

Plaintiff’s request. On August 13, 2008, the Court denied the Plaintiff’s request for

partial summary judgment. Following the Court’s ruling, several status conferences

have taken place while the parties investigated Met Life’s actions. At a status

conference held on May 13, 2009, the parties requested that the Court establish a

briefing schedule for the filing of dispositive motions. On May 14, 2009, the Court

issued a scheduling order.

       On June 17, 2009, the Plaintiff timely filed its second partial summary judgment

motion. In contrast to the Plaintiff’s first summary judgment motion, the Plaintiff now

moves for partial summary judgment under Counts I and II of its Complaint. On August

6, 2009, the Debtor filed her response opposing the Plaintiff’s motion. A hearing was

held on September 2, 2009. At the conclusion of the parties’ arguments, the Court took

this matter under advisement.

                                      III. Jurisdiction


       This Court has subject matter jurisdiction over this proceeding under 28 U.S.C.

§§ 1334(b), 157(a), and 157(b)(1) and E. D. Mich. LR 83.50(a). This is a core


                                              7



 08-03001-dof     Doc 35     Filed 03/19/10    Entered 03/19/10 14:59:24      Page 7 of 17
proceeding pursuant to 28 U.S.C. § 157(b)(2)(I).



                            IV. Standard for Summary Judgment

       Fed. R. Civ. P. 56(c) for summary judgment is incorporated into Fed. R. Bankr. P.

7056. Summary judgment is only appropriate when there is no genuine issue of

material fact and the moving party is entitled to judgment as a matter of law. Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). “[T]he mere existence of some

alleged factual dispute between the parties will not defeat an otherwise properly

supported motion for summary judgment; the requirement is that there be no genuine

issue of material fact.” Id. at 247-48. “[T]here is no issue for trial unless there is

sufficient evidence favoring the nonmoving party for a jury to return a verdict for that

party. If the evidence is merely colorable, or is not significantly probative, summary

judgment may be granted.” Id. at 249-50 (citations omitted).

       “The initial burden is on the moving party to demonstrate that an essential

element of the non-moving party’s case is lacking.” Kalamazoo River Study Group v.

Rockwell International Corp., 171 F.3d 1065, 1068 (6th Cir. 1999) (citing Celotex Corp.

v. Catrett, 477 U.S. 317, 322-23 (1986)). “The burden then shifts to the non-moving

party to come forward with specific facts, supported by evidence in the record, upon

which a reasonable jury could return a verdict for the non-moving party.” Id. (citing

Anderson, 477 U.S. at 248). “The non-moving party, however, must provide more than

mere allegations or denials . . . without giving any significant probative evidence to

support” its position. Berryman v. Rieger, 150 F.3d 561, 566 (6th Cir. 1998) (citing

Anderson, 447 U.S. at 256). “If after reviewing the record as a whole a rational

                                              8



 08-03001-dof      Doc 35    Filed 03/19/10    Entered 03/19/10 14:59:24       Page 8 of 17
factfinder could not find for the nonmoving party, summary judgment is appropriate.”

Braithwaite v. Timken Co., 258 F.3d 488, 493 (6th Cir. 2001) (internal quotation marks

and citations omitted).

                                      V. Discussion


A.     The Life Insurance Proceeds

       In their briefs, the parties’ requested that the Court address two substantive

issues pertaining to the Life Insurance Proceeds before ruling on the Plaintiff’s summary

judgment motion. The Court will separately consider each issue.

       1.     Met Life complied with its duty under ERISA when it distributed the Life
              Insurance Proceeds to the Debtor because she was the last designated
              beneficiary under the plan documents.


       The first legal issue involves a determination about Met Life’s payment of the Life

Insurance Proceeds to the proper recipient under federal law. During oral argument,

however, both parties conceded that Met Life fulfilled its statutory duty under ERISA

when it distributed the Life Insurance Proceeds to an account held in the Debtor’s name

because the Debtor was the last designated beneficiary based on the August 26, 1971

“Designation of beneficiary form” executed by Mr. Wilson. Counsel for the parties

explained to the Court that Met Life’s actions were governed by Metropolitan Life Ins.

Co., v. Pressley, 82 F.3d 126 (6th Cir. 1996) and the more recent decision of the United

States Supreme Court in Kennedy v. Plan Administrator for DuPont Savings &

Investment Plan, - - - U.S. - - -, 129 S.Ct. 865 (2009). Under circumstances somewhat

similar to those presented in this proceeding, the Supreme Court held in Kennedy v.

Plan Administrator for Du Pont that a plan administrator of an ERISA plan has a

                                             9



 08-03001-dof     Doc 35    Filed 03/19/10   Entered 03/19/10 14:59:24      Page 9 of 17
statutory duty to pay benefits to a beneficiary designated by a plan participant in

conformity with the plan documents. Id. at 875. See also Central States, SE & SW

Areas Pension Fund v. Howell, 227 F.3d 672, 677 (6th Cir. 2000) (recognizing that “the

law in this Circuit is clear — the beneficiary card controls whom the plan administrator

must pay”).

       As acknowledged by the parties, application of these cases to the circumstances

in this proceeding indicates that Met Life fulfilled its statutory duty under ERISA when it

properly distributed the Life Insurance Proceeds to an account held in the Debtor’s

name. This conclusion resolves the federal law question. The next legal issue the

parties’ requested that the Court address is whether, under Michigan law, the Debtor

waived her right to keep the Life Insurance Proceeds based on the parties’ Divorce

Judgment.

       2.     The Debtor Waived her Right to Retain the Life Insurance Proceeds.

       The Plaintiff contends that, under Michigan law, the Debtor waived her right to

retain possession of the Life Insurance Proceeds based on the “Insurance” provision

contained in the Divorce Judgment. Plaintiff’s counsel pointed out that this issue is

controlled by Sweebe v. Sweebe, 712 N.W.2d 708, 710 (2006). Like this case,

Sweebe, involved a former spouse’s retention of life insurance proceeds contrary to the

terms of her divorce judgment. The court in Sweebe held that the plaintiff was not

entitled to keep the life insurance proceeds because she expressly waived her right to

any entitlement to them as part of the parties’ divorce settlement as provided by the

terms of their divorce judgment. The court explained that a valid waiver must be

“explicit, voluntary, and made in good faith.” Sweebe, 712 N.W.2d at 712.

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 08-03001-dof     Doc 35    Filed 03/19/10   Entered 03/19/10 14:59:24      Page 10 of 17
       Again, at oral argument, counsel for the Debtor, conceded that under Michigan

law the Debtor had no legal basis to retain the Life Insurance Proceeds. In light of the

Debtor’s position on this substantive issue, the Court concludes that this issue of law is

resolved. To recap, under federal law, MetLife was required to pay the Debtor the Life

Insurance Proceeds. Yet, under Michigan law, the Debtor acknowledges that she

waived her entitlement to receive the Life Insurance Proceeds under the terms of the

parties’ Divorce Judgment. These conclusions of law, however, do not resolve the

pending motion before the Court. The Court must still consider the Plaintiffs’ motion for

summary judgment on each of its § 523(a) claims.


B.     Non-Dischargeability of a Debt under 11 U.S.C. 523(a)

       Plaintiff moves for partial summary judgment on Counts I and II of her three

count complaint against the Debtor. The Plaintiff asserts that there are no genuine

issues of material fact under any of its actions premised on § 523(a)(2)(A), § 523(a)(4),

or § 523(a)(6). Therefore, the Plaintiff contends that it is entitled to judgment as a

matter of law. The Debtor disagrees.

       1.     11 U.S.C. § 523(a)(2)(A)

       The Debtor argues that the Plaintiff’s current summary judgment motion on its

§ 523(a)(2)(A) claim relies on the same grounds and supporting materials presented to

and ruled upon by the Court on its previous summary judgment motion. As such, the

Debtor contends that the Plaintiff’s motion should be denied because material factual

issues exist. The Court agrees. The Court concludes that Plaintiff’s attempt to obtain

another summary judgment ruling is unavailing under the law of the case doctrine,


                                             11



 08-03001-dof     Doc 35    Filed 03/19/10    Entered 03/19/10 14:59:24     Page 11 of 17
which provides:

       that when a court decides upon an issue of rule of law, that decision
       should continue to govern the same issues in subsequent stages of he
       same case. The doctrine precludes a court from reconsideration of issues
       decided at an early stage of the litigation, either explicitly or by necessary
       inference from the disposition.

Westside Mothers v. Olszewski, 454 F.3d 532, 538 (6th Cir. 2006) (internal quotes and

citations omitted). Three exceptional exceptions exist to the law of the case doctrine:

“(1) where substantially different evidence is raised on subsequent trial; (2) where a

subsequent contrary view of the law is decided by controlling authority; or (3) where a

decision is clearly erroneous and would work manifest injustice.” Id.

       The Plaintiff has failed to establish that any of these exceptions exist in this

matter to require the Court to reconsider its prior ruling. The Plaintiff’s motion for

summary judgment on its § 523(a)(2)(A) claim is denied.


       2.     11 U.S.C. § 523(a)(4)

              a.     Defalcation of a fiduciary duty

       The Plaintiff moves for summary judgment on its § 523(a)(4) claim. Plaintiff

contends that there are no genuine issues of material fact and that it has established

that the debt owed by the Debtor to it is one “for fraud or defalcation while acting in a

fiduciary capacity” under § 523(a)(4). The Debtor disagrees.

       The Sixth Circuit Court of Appeals in In re Bucci, 493 F.3d 635 (6th Cir. 2007),

explained the meaning of the phrase “defalcation while acting in a fiduciary capacity” by

quoting from several prior decisions.

       A debt is nondischargeable as a defalcation when the preponderance of
       the evidence establishes: “(1) a preexisting fiduciary relationship; (2)

                                             12



 08-03001-dof      Doc 35   Filed 03/19/10    Entered 03/19/10 14:59:24      Page 12 of 17
       breach of that fiduciary relationship; and (3) a resulting loss.” In re
       Blaszak, 397 F.3d at 390.

              The Sixth Circuit “construes the term ‘fiduciary capacity’ found in
       the defalcation provision of § 523(a)(4) more narrowly than the term is
       used in other circumstances.” In re Blaszak, 397 F. 3d at 391. In Carlisle
       Cashway, Inc. v Johnson (In re Johnson), 691 F.2d 249, 251-52 (6th
       Cir.1982), and In re Interstate Agency, 760 F.2d at 125, we limited the
       application of the defalcation provision to express or technical trusts and
       refused to extend it to constructive or implied trusts imposed by operation
       of law as a matter of equity. The decisions in those cases relied on the
       Supreme Court’s holding in Davis v. Aetna Acceptance Co., 293 U.S. 328,
       333, 55 S.Ct.151, 153, 79 L.Ed. 393 (1934) that the defalcation provision
       applies only to express or technical trusts. Again in In re Garver, we
       adopted a narrow definition of the defalcation provision and held that it
       does not apply to someone who merely fails to meet an obligation under a
       common law fiduciary relationship. In re Garver, 116 F.3d at 179. . . .
       Accordingly, the defalcation provision applies to “only those situations
       involving an express or technical trust relationship arising from placement
       of a specific res in the hands of the debtor.” In re Garver, 116 F.3d at 180.

               To establish the existence of an express or technical trust, a
       creditor must demonstrate: “(1) an intent to create a trust; (2) a trustee; (3)
       a trust res; and (4) a definite beneficiary.” (citation omitted)

In re Bucci, 493 F.3d at 639-640.

       The fundamental issue under Plaintiff’s § 523(a)(4) claim is whether the Debtor

breached fiduciary duties she owed to the Plaintiff due to the existence of an express or

technical trust. There is nothing in the record before the Court to indicate that an

express trust or a technical trust was created by the Circuit Court Order or the Order to

Compel. A broad reading of these orders could lead to conclusion that a constructive

trust was imposed over the Life Insurance Proceeds. Even if the Court were to interpret

these orders as imposing a constructive trust, this type of a trust is insufficient under

§ 523(a)(4). The Court concludes that Plaintiff is not entitled to summary judgment on

its § 523(a)(4) claim.


                                             13



 08-03001-dof     Doc 35    Filed 03/19/10    Entered 03/19/10 14:59:24      Page 13 of 17
              b.     Embezzlement

       For the first time, the Plaintiff moves for summary judgment under § 523(a)(4)

based on grounds of embezzlement. The Debtor, however, did not receive fair notice of

the Plaintiff’s claim under § 523(a)(4). A review of the Plaintiff’s Complaint indicates

that the Plaintiff did not raise a cause of action under § 523(a)(4) based on an

embezzlement theory of liability. On its face, the Complaint does not contain any

factual allegations premised on embezzlement. The Court concludes that it is improper

at this point to allow the Plaintiff to now raise a new cause of action. The Plaintiff’s

motion for summary judgment on an embezzlement theory under § 523(a)(4) is denied.

       3.     11 U.S.C. § 523(a)(6)

       This is the first time Plaintiff has moved for summary judgment under § 523(a)(6)

based on conversion. The Debtor’s response to the Plaintiff’s motion did not address

this aspect of the Plaintiff’s summary judgment motion. A review of the Plaintiff’s

Complaint indicates that while Count I is entitled “Conversion under § 523(a)(2)(A) or

§ 523(a)(4),” the allegations pled in Count I substantially plead a theory of liability based

on conversion. Even though the Court construes the Plaintiff’s Complaint to plead

conversion, genuine issues of material fact exist to preclude this Court from granting

the Plaintiff’s summary judgment motion.

       Section 523(a) states that a

              discharge under [§] 727 . . . does not discharge an individual
              debtor from any debt —

                     (6) for willful and malicious injury by the debtor
                     to another entity or to the property of another
                     entity[.]


                                             14



 08-03001-dof      Doc 35   Filed 03/19/10    Entered 03/19/10 14:59:24      Page 14 of 17
       Based on statute’s plain language, the debt “must be for an injury that is both

willful and malicious. The absence of one creates a dischargeable debt.” Markowitz v.

Campbell, (In re Markowtiz), 190 F.3d 455, 463 (6th Cir. 1999). Debts that arise from

reckless or negligent acts are not encompassed within § 523(a)(6). Kawaauhau v.

Geiger, 523 U.S. 57, 63, 118 S.Ct. 974, 978 (1998). Instead, debts that arise from

those acts undertaken with the actual intent to cause injury fall squarely within

§ 523(a)(6). Id. As explained by the Geiger court:

       The word ‘willful’ in (a)(6) modifies the word ‘injury,’ indicating that
       nondischargeability takes a deliberate or intentional injury, not merely a
       deliberate or intentional act that leads to injury. Had Congress meant to
       exempt debts resulting from unintentionally inflicted injuries, it might have
       described instead ‘willful acts that cause injury.’ Or, Congress might have
       selected an additional word or words, i.e., ‘reckless’ or ‘negligent’ to
       modify ‘injury.’

Kawaauhau v. Geiger, 523 U.S. at 62-3, 118 S.Ct. at 977 (emphasis in original). With

citation to the Restatement (Second) of Torts, the Geiger court also explained that “the

(a)(6) formulation triggers in the lawyer’s mind the category ‘intentional torts,’ as

distinguished from negligent or reckless torts. Intentional torts generally require that the

actor intend ‘the consequences of an act,’ not simply ‘the act itself.’” Id. (quoting

Restatement (Second) of Torts § 8A, Comment a, p. 15 (1964)) (emphasis in original).

       In Markowitz v. Campbell (In re Campbell), 190 F.3d 455, (6th Cir. 1999), the

Sixth Circuit Court of Appeals applied and expanded on the Geiger analysis of

§ 523(a)(6) to hold that “unless ‘the actor desires to cause [the] consequences of his

act, or . . . believes that the consequences are substantially certain to result,’ . . . he has

not committed a ‘willful and malicious injury’ as defined under § 523(a)(6).” 190 F.3d at

464 (quoting Restatement (Second) of Torts § 8A, at 15 (1964)).

                                              15



 08-03001-dof     Doc 35     Filed 03/19/10    Entered 03/19/10 14:59:24      Page 15 of 17
       In the context of § 523(a)(6), the term “malice” was defined long ago by the

United States Supreme Court in Tinker v. Colwell, 193 U.S. 473, 24 S.Ct. 505 (1904) as

meaning “a wrongful act, done intentionally, without just cause or excuse.” 193 U.S. at

485-86 (interpreting analogous § 17(a)(2) of the former Bankruptcy Act) (internal

quotation marks and citation omitted). Alternatively, “malicious” means “in conscious

disregard of one’s duties.” Monsanto Co., v. Trantham (In re Trantham), 304 B.R. 298,

308 (6th Cir. B.A.P. 2004).

       In reviewing the relevant allegations in Count I of the Plaintiffs’ complaint, the

focus of the allegations against the Debtor consist of her knowing, willing, and voluntary

violation of the orders entered by the Circuit Court and Probate Court. Plaintiff further

alleged that the Debtor unlawfully took, asserted dominance over the Life Insurance

Proceeds, which rightfully belonged to it; that the Debtor converted the Life Insurance

Proceeds to her own use, which resulted in damages to the Plaintiff. The focus of

these allegations is on the deliberate or intentional acts engaged in by the Debtor.

Noticeably absent from these claims are any allegations that the Debtor intentionally

sought to harm or injure the Plaintiff or knew that the Plaintiff would be harmed as a

result of the Debtor’s actions and that she did so in conscious disregard of any duties

without just cause or excuse.

       As determined by the Court in its prior ruling on the Plaintiff’s first motion for

summary judgment, the primary issue involved in this adversary proceeding is the

Debtor’s intent. Hoover v. Radabaugh, 307 F.3d 460, 467 (6th Cir. 2002) (recognizing

that summary judgment is particularly inappropriate when a party’s intent is at issue).

It is necessary then for the Court to observe, weigh and determine the credibility of the

                                               16



 08-03001-dof     Doc 35      Filed 03/19/10   Entered 03/19/10 14:59:24      Page 16 of 17
Debtor. This is an issue of material fact that requires a trial. Anderson v. Liberty Lobby,

477 U.S. 242, 257 (1986). For this reason, the Court denies the Plaintiff’s motion for

summary judgment on its § 523(a)(6) claim.

                                     VI. Conclusion

       For the reasons explained in this Opinion, the Court concludes that the Plaintiff’s

motion for summary judgment is denied on all grounds.




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Signed on March 19, 2010
                                                   /s/ Daniel S. Opperman
                                                 Daniel S. Opperman
                                                 United States Bankruptcy Judge




                                            17



 08-03001-dof    Doc 35    Filed 03/19/10    Entered 03/19/10 14:59:24     Page 17 of 17
